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         Exhibit E
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  STATE OF RHODE ISLAND                                               SUPERIOR COURT
  PROVIDENCE, SC.

    U-NEST HOLDINGS, INC.,

                   Plaintiff,                          C.A. No.
    v.

    INVESCO DISTRIBUTORS, INC. and
    ASCENSUS COLLEGE SAVINGS
    RECORDKEEPING SERVICES, LLC,

                   Defendants.

     PLAINTIFF’S EX PARTE MOTION FOR TEMPORARY RESTRAINING ORDER

          Pursuant to Rule 65 of the Rhode Island Superior Court Rules of Civil Procedure, plaintiff

  U-Nest Holdings, Inc. (“U-Nest”) hereby submits this memorandum of law in support of its motion

  for a temporary restraining order against defendants Invesco Distributors, Inc. (“Invesco”) and

  Ascensus College Savings Recordkeeping Services, LLC (“Ascensus”).

          In its Verified Complaint, U-Nest has asked this Court to, among other things, issue an

  order preventing Invesco and Ascensus from terminating and/or otherwise limiting U-Nest’s

  access and rights to a client / advisor portal administered / distributed by Defendants. U-Nest now

  moves this Court for a temporary restraining order restraining and preventing Invesco and

  Ascensus from taking any action to end and/or otherwise limit U-Nest’s access to the client /

  advisor portal for purposes of servicing U-Nest’s end-user account holders who are currently

  participating in the college savings program administered and distributed by Defendants. A

  temporary restraining order in this instance would merely act to preserve the status quo.




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                                                  BACKGROUND

             The following facts are taken from the Verified Complaint filed by U-Nest.

  A.         Parties

             U-Nest is a mobile application for iPhone and Android that allows end-user account holders

  to save for their children’s education via a tax-advantaged 529 college savings plan.               Verified

  Complaint (“Compl.”) ¶ 6. U-Nest also markets such plans to prospective end-user account

  holders. Id. The CollegeBound 529 (“Program”) is a qualified tuition program governed by

  Section 529 of the Internal Revenue Code of 1986, as amended, sponsored by the State of Rhode

  Island and Providence Plantations and administered by the Rhode Island Office of the General

  Treasurer. Id. ¶ 7. Ascensus is the program manager for the Program (“Program Manager”)

  pursuant to the Program Management Agreement between the Treasurer and the Program Manager

  dated March 18, 2016. Id. ¶ 8. Invesco is the distributor of the Program pursuant to a Services

  Agreement between the Program Manager and Invesco. Id. ¶ 9.

  B.         Agreement for Recommending 529 Plan Securities

             On or about May 7, 2018, U-Nest1 and Invesco entered into an Agreement for

  Recommending 529 Plan Securities (“Agreement”). Compl. ¶ 10. A copy of the Agreement is

  attached hereto as Exhibit A and incorporated herein by reference. In October 2918, U-Nest

  launched its mobile application and began marketing 529 plans to potential end-user account

  holders. Id. ¶ 11. Under the Agreement, U-Nest was authorized to recommend, on a non-exclusive

  basis, Invesco-managed municipal fund securities that are in the Program (“Program Interests”).

  Id. ¶ 12. U-Nest’s end-user account holders sign an Advisory Agreement Terms and Conditions




  1
      U-Nest was converted from a limited liability company to a Delaware corporation in July 2019.

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  (“Advisory Agreement”). Id. ¶ 13. A copy of the Advisory Agreement is attached hereto as Exhibit

  B and incorporated herein by reference.

          Under the terms of the Advisory Agreement, end-user account holders provide U-Nest with

  a limited power of attorney and appoint U-Nest as their attorney-in-fact and agent to interface with

  529 plans. Id. ¶ 14. The Agreement expressly acknowledges that U-Nest contracts directly with

  end-user account holders to provide services. Agreement § 1(e)(ii). Id. ¶ 15. The CollegeBound

  529 Non-Rhode Island Resident Enrollment Form (“Program Enrollment Form”) allows the end-

  user account holders to designate the Financial Advisor of their choosing, providing that

  designated Financial Advisor with authority to access their account and the ability to perform

  transactions on their behalf. Id. ¶ 16. A copy of the Program Enrollment Form is attached hereto

  as Exhibit C and incorporated herein by reference. The selection of U-Nest as the end-user

  account holder’s Financial Advisor allows U-Nest to access a Program client / advisor portal on

  the end-user account holder’s behalf and to make transactions in connection with their college

  savings accounts. Id. ¶ 17.

          Page 6 of the Program Enrollment Form lists a number of Invesco portfolios as investment

  options. In addition, page ten makes a number of disclosures regarding Ascensus and Invesco.

  Lastly, page 11 contains Ascensus and Invesco logos. Id. ¶ 18. Many of U-Nest’s end-user

  account holders are close friends, family, business partners, advisors and investors in U-Nest. Id.

  ¶ 19.

  C.      Marketing

          Under the Agreement (§ 1(a)), U-Nest is permitted to recommend the Program Interests to

  prospective end-user account holders. Compl. ¶ 20. Section 4 of the Agreement provides in

  relevant part that


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                 [U-Nest] will not use nor allow its representatives, employees,
                 partners, joint venturers or agents to use the name of [Invesco] or
                 the name of any of their affiliates, [Ascensus], or any Governmental
                 Authority (including any trademark, trade name, service mark or
                 logo) without [Invesco’s] prior consent except as required by law.

  Id. Pursuant to Section 4 of the Agreement, U-Nest sent proposed marketing materials that

  included Invesco’s logo and trademarks to Invesco for review and approval. Id. ¶ 21. U-Nest

  never received a response from Invesco regarding the marketing materials, so it removed the logos

  and trademarks from the marketing materials and proceeded with the marketing without Invesco’s

  labeling thereon. Id. ¶ 22. U-Nest noted that the plans that it was marketing were managed by

  Invesco as investment manager in order to comply with securities laws regarding disclosures. Id.

  ¶ 23.

  D.      Termination of the Agreement

          The Agreement allows either party to terminate, without penalty, on thirty (30) days’ prior

  written notice to the other party. Agreement § 6(b). Compl. ¶ 24. The Agreement also allows

  either party to terminate the Agreement immediately, without notice, if the other party breaches.

  Id. ¶ 25. In a letter dated October 31, 2019, delivered via overnight courier, Invesco provided

  written notice that it was terminating the Agreement effective November 30, 2019 (“Termination

  Letter”). Id. ¶ 26. A copy of the Termination Letter is attached hereto as Exhibit D and

  incorporated herein by reference.

          The Termination Letter stated that Invesco was terminating the Agreement because U-Nest

  used the Invesco name in its marking materials, including its website and digital application

  description, without the advance written consent of Invesco, as required under Section 4 of the

  Agreement. Compl. ¶ 27. While the Termination Letter alleged that U-Nest was in breach of the

  Agreement, Invesco did not terminate the Agreement immediately and without notice as permitted


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  by Section 6(c) of the Agreement in the event of a breach. Id. ¶ 28. As a result of the Termination

  Letter, U-Nest timely contacted Invesco to ensure that U-Nest is able to maintain uninterrupted

  access to the client / advisor portal on behalf of end-user account holders with whom they

  contracted to serve as their Financial Advisor prior to the termination date (November 30).

  Specifically, on November 1, 2019, a representative from U-Nest spoke with a representative from

  Invesco. Id. ¶ 29. Based on that conversation, U-Nest was initially under the impression that there

  would not be any interruption to existing end-user account holders. Id.

          During a telephone call on or about November 20, 2019, representatives of Invesco and

  Ascensus informed U-Nest that its access to the client /advisor portal will be terminated and/or

  otherwise limited when the Agreement is terminated effective November 30, 2019. Compl. ¶ 30.

  During that phone call, U-Nest was advised that there was no flexibility on the termination date

  and that the affected approximately 500 end-user account holders (the savers for college tuition

  who invested in the plan through efforts of U-Nest) would become Invesco-labeled accounts. Id.

  ¶ 31. On or about November 21, 2019, U-Nest’s counsel spoke with Invesco representatives who

  told counsel that any issues needed to be discussed with Ascensus because Ascensus, not Invesco,

  controls access to the client / advisor portal. Id. ¶ 32.

          To date, Ascensus has refused to engage with U-Nest on how to ensure that U-Nest has

  continuing access to the client / advisor portal post-termination, and has directed U-Nest to engage

  with Invesco, which has in turn refused to engage further with U-Nest. Id. ¶ 33. Approximately

  500 end-user account holders will be impacted if Defendants are permitted to terminate U-Nest’s

  access to their accounts. U-Nest can provide information about the 500 end-user account holders

  under a protective order if the Court would like to review. U-Nest should continue to have

  uninterrupted access and rights to continue servicing their end-user account holders who are


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  already in the Program through the client / advisor portal for which those end-user account holders

  have specifically contracted as described above.    Id. ¶ 34.

                                     PROCEDURAL POSTURE

          U-Nest has filed a Verified Complaint asking this Court to, among other things, issue an

  order preventing Invesco and Ascensus from terminating U-Nest’s access and rights to the client /

  advisor portal so that it can continue servicing its end-user account holder clients who are already

  in the Program. U-Nest now moves this Court for a temporary order restraining and preventing

  Invesco and Ascensus from taking any action to terminate and/or otherwise limit U-Nest’s access

  to the client / advisor portal.

                                             ARGUMENT

          “In order to qualify for a temporary restraining order, the moving party must demonstrate

  (1) that it will probably succeed on the merits of its claim, (2) that the party will suffer immediate

  irreparable harm absent injunctive relief, (3) that the moving party has no adequate remedy at law,

  and (4) taking into account the public interest, the balancing of the equities favors the granting of

  the temporary restraining order.” Martin v. Lincoln Bar, Inc., 622 A.2d 464, 469 (R.I. 1993). An

  application for temporary injunctive relief is addressed to this Court’s sound discretion. Fund for

  Cmty. Progress v. United Way of Southeastern New Eng., 695 A.2d 517, 521 (R.I. 1997).

  A.      Likelihood of Success on the Merits.

          With regard to the first prong, U-Nest has demonstrated a likelihood of success on the

  merits. As set forth in its Verified Complaint, Invesco and Ascensus have refused to engage with

  U-Nest to determine a plan to ensure that U-Nest maintains access post-termination to the client /

  advisor portal on behalf of the end-user account holders with whom they have contracted prior to

  the termination date. Instead, Ascensus indicated such access would be terminated as of December


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  1, 2019. Those end-user account holders have designated U-Nest as their Financial Advisor, and

  they are entitled to have U-Nest continue to serve in that capacity on their behalf, regardless of

  whether the Agreement remains in effect.      U-Nest has a contractual right to access the client /

  advisor portal through both the Advisory Agreements with end-user account holders and the end-

  user’s enrollment with Defendants through the Program Enrollment Form. Termination of the

  Agreement does not affect U-Nest’s access to the client \ advisor portal – it only precludes U-Nest

  form offering the Program going forward. U-Nest should have uninterrupted access and rights to

  continue servicing their end-user account holder clients through the client / advisor portal who are

  currently in the Program.

  B.      Irreparable Harm.

          With regard to the second prong, the irreparable harm here is clear. If Invesco and/or

  Ascensus are permitted to terminate or otherwise limit U-Nest’s access to the client / advisor portal,

  approximately 500 end-user account holders will effectively see their contractual advisory

  relationship with U-Nest severed, preventing end-user account holders from accessing details of

  their account through the U-Nest application and precluding U-Nest from its ability to perform its

  rights and responsibilities under the Advisory Agreement. Instead, U-Nest end-user account holder

  clients desiring any access or service for their accounts will be required to interact directly with

  Ascensus by phone or its own online portal for Program account owners. U-Nest will suffer undue

  embarrassment and harm to its business reputation and ability to market other plans to end-user

  account holders. This is particularly true because many of U-Nest’s end-user account holders are

  close friends, family, business partners, advisors and investors in U-Nest. The effect on U-Nest’s

  business would be irreparable.




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  C.      No Adequate Remedy at Law.

          U-Nest has no adequate remedy at law. In the absence of injunctive relief, U-Nest’s

  approximately 500 end-user account holder clients will have no access to their Program accounts

  through the U-Nest application or U-Nest employees after November 30, 2019. In addition, U-

  Nest will suffer irreparable harm to its business, reputation and end-user account holder

  relationships if Invesco and Ascensus are permitted to terminate U-Nest’s access and rights to the

  Program’s client / advisor portal on behalf of end-user account holder relationships that came into

  existence before the date of termination of the Agreement.

  D.      Balancing of the Equities.

          Finally, granting the temporary restraining order will not prejudice or unduly burden

  Invesco or Ascensus. U-Nest’s approximately 500 end-user account holder clients are part of the

  Program administered by Ascensus and distributed by Invesco. The end-user account holders will

  continue to be part of the Program after termination of the Agreement. The end-user account

  holders have selected U-Nest as their Financial Advisor, and U-Nest should be permitted to

  continue to access the end-user account holders’ accounts and to transact business on behalf of

  them as part of what the end-user account holders bargained for by enrolling in the Program.

          Granting this motion will only require Invesco and Ascensus to maintain the status quo.

  Invesco and Ascensus will not be unduly burdened or prejudiced if it they are restrained from

  taking action to terminate or otherwise limit U-Nest’s access to the client / advisor portal. By

  contrast, if injunctive relief is denied, U-Nest will suffer irreparable harm to its business and

  reputation as described previously. Accordingly, the balancing of the equities weighs in favor of

  granting injunctive relief.




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                                           CONCLUSION

           For the reasons stated above and for those that may be advanced at oral argument, U-Nest

   requests that this Court grant its Motion for Temporary Restraining Order.



                                               PLAINTIFF,

                                               U-NEST HOLDINGS, INC.,

                                               By its Attorneys,

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   Dated: November 25, 2019




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